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                                                                                                  E-FILED
                                                                      Wednesday, 08 May, 2019 12:04:23 PM
                                                                             Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

RAFAEL KENNEDY,                                               )
                                                              )
                      Plaintiff,                              )
                                                              )         Case No. 16-CV-3332
       vs.                                                    )
                                                              )             JURY DEMAND
MICHAEL GARRETT, et al.,                                      )
                                                              )
                      Defendants.                             )

  AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S AMENDED
                           COMPLAINT

       NOW COME Defendants, REGINALD BARNETT, MICHAEL GARRETT, BLAKE

HAUBRICH, CLINT ZOLLER, and JUSTIN HUNZICKER by and through their attorney,

KWAME RAOUL, Illinois Attorney General, and provide the following Answer and

Affirmative Defenses to Plaintiff’s Amended Complaint, [Doc. 48], stating as follows:

       ALLEGATIONS ENUMERATED IN PLAINTIFF’S AMENDED COMPLAINT
                              [DOC. 48]

   1. Pursuant to its merit review of the Plaintiff’s Amended Complaint under 28 U.S.C. §

1915(A), the Court found that Plaintiff stated an Eighth Amendment claim for excessive force

against all Defendants.

   2. ANSWER: Defendants admit that the complaint alleges a claim under 42 U. S. C. § 1983,

but deny that any violation of Plaintiff's Eighth Amendment rights or any other constitutional

rights occurred.

   3. Defendants expressly deny any allegation not specifically admitted.

                                      REQUESTED RELIEF

       1. Defendants deny that Plaintiff is entitled to compensatory damages.

       2. Defendants deny that Plaintiff is entitled to punitive damages.

       3. Defendants deny that Plaintiff is entitled to any other relief.

                                         JURY DEMAND

       Defendants respectfully request trial by jury.
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                                     AFFIRMATIVE DEFENSES

        1.      At all times relevant herein, Defendants acted in good faith in the performance of

their official duties and without violating Plaintiff’s clearly established statutory or

constitutional rights of which a reasonable person would have known. Defendants are therefore

protected from suit by the doctrine of qualified immunity.

        2.      To the extent that Plaintiff is suing Defendants for injunctive relief that is not

intended to address ongoing constitutional violations, the Eleventh Amendment and the

doctrine of sovereign immunity bar such claims.

        3.      To the extent that Plaintiff is suing Defendants for actions of a subordinate in

which Defendants were not directly involved, such claims are barred because the doctrine of

respondeat superior is not a basis for liability under 42 U.S.C. § 1983. See Gentry v. Duckworth, 65

F.3d 555, 561 (7th Cir. 1995).

        4.      To the extent Plaintiff seeks damages from Defendants in their official capacity,

Defendants are protected from liability by the Eleventh Amendment.

        5.      To the extent Plaintiff has failed to adhere to the Illinois Department of

Corrections grievance procedures, his claim should be barred for failure to exhaust his

administrative remedies prior to the initiation of this cause of action, which serves as a bar to

Plaintiff’s claims by the Prison Litigation Reform Act (42 U.S.C. § 1997) and Perez v. Wisconsin

Dept. of Corrections, 182 F. 3ed 532 (7th Cir. 1999).

        6.      To the extent Plaintiff’s claim is more than two years old, it is barred by the

applicable statute of limitations.




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       WHEREFORE, Defendants requests that this Honorable Court enter judgment in their

favor and against Plaintiff, Raphael Kennedy.

 Dated: May 6, 2019                             Respectfully submitted,

 Kwame Raoul
 Attorney General for the State of Illinois     By:   s/ Tim Sullivan
 Counsel for Defendants,                              Tim Sullivan
                                                      Assistant Attorney General
                                                      Office of the Illinois Attorney General
                                                      1776 East Washington Street
                                                      Urbana, Illinois 61802
                                                      Phone: (217) 278-3330
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS


RAFAEL KENNEDY,                                               )
                                                              )
                      Plaintiff,                              )
                                                              )          Case No. 16-CV-3332
       vs.                                                    )
                                                              )
MICHAEL GARRETT, et al.,                                      )
                                                              )
                      Defendants.                             )

       I hereby certify that on May 6, 2019, I electronically filed the foregoing, Amended Answer

and Affirmative Defenses to Plaintiff’s Amended Complaint, with the Clerk of Court using the

CM/ECF system, and I hereby certify that on that same date, I caused a copy of same to be

mailed by United States Postal Service, in an envelope fully prepaid and properly addressed, to

the following participant:

                      Jeffery O. Katz
                      The Patterson Law Firm
                      1 North LaSalle St. Suite 2100
                      Chicago, IL 60602




                                                        By:       s/   Tim Sullivan
                                                                  Tim Sullivan
                                                                  Assistant Attorney General
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